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 7   Attorneys for Defendants Ahern Rentals, Inc. & Don F. Ahern

 8

 9                                 UNITED STATES DISTRICT COURT
10                                         DISTRICT OF NEVADA
11
      EQUIPMENTSHARE.COM INC, a Delaware                    Case No.:    2:21-cv-01916-JAD-VCF
                                                                           2:20-cv-01916-JAD-VCF
12    corporation,
                   Plaintiff,                               STIPULATION AND ORDER TO
13                                                          EXTEND DEFENDANTS’ TIME TO
      vs.                                                   ANSWER
14
      AHERN RENTALS, INC., a Nevada
15    corporation; DON F. AHERN, an individual;             (First Request)
      and DOES 1 through 100, inclusive,
16

17                   Defendants.

18

19           Pursuant to Local Rules IA 6-1 and IA 6-2 and Local Rule 7-1, it is hereby stipulated by and

20   between Plaintiff EQUIPMENTSHARE.COM INC and Defendants, AHERN RENTALS, INC and

21   DON F. AHERN, by and through their counsel to extend the current deadline of December 6, 2021,

22   for Defendants to respond to the Complaint as follows:

23           On November 17, 2021, Plaintiff filed its Complaint [ECF No. 1]. Defendants’ response is

24   currently due on December 6, 2021. The undersigned hereby agree to a two (2) week extension of

25   that deadline and that Defendants shall have until December 20, 2021 to file their response.

26           This is the parties’ first request for an extension of time of any deadline in this matter. It is

27   not intended to cause any delay or prejudice any party. Rather, the parties hereto agree to an extension

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       Case 2:21-cv-01916-JAD-VCF Document 8 Filed 12/03/21 Page 2 of 2



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 2   in good faith to allow Defendants additional time to gather necessary information to formulate their

 3   response and to accommodate counsel’s existing commitments in other matters.

 4    DATED this 3rd day of December, 2021.                DATED this 3rd day of December, 2021.

 5    MAIER GUTIERREZ & ASSOCIATES                         BROWNSTEIN HYATT FARBER SCHRECK, LLP

 6
      /s/ Jean-Paul Hendricks                               /s/ Emily A. Ellis
 7    JOSEPH A. GUTIERREZ, ESQ.                            MITCHELL J. LANGBERG, ESQ.
      Nevada Bar No. 9046                                  Nevada Bar No. 10118
 8    JEAN-PAUL HENDRICKS, ESQ.                            EMILY A. ELLIS, ESQ.
      Nevada Bar No. 10079                                 Nevada Bar No. 11956
 9    8816 Spanish Ridge Avenue                            100 North City Parkway, Suite 1600
      Las Vegas, Nevada 89148                              Las Vegas, Nevada 89106
10   Attorneys for Defendants Ahern Rentals, Inc.          Attorneys for Plaintiff Equipmentshare.com Inc.
      & Don F. Ahern
11

12
                                                    ORDER
13           IT IS SO ORDERED.
14
                                                    IT IS SO ORDERED.
15

16                                                  ______________________________
                                                    Cam Ferenbach
17
                                                    United States Magistrate Judge
18                                                             12-3-2021
                                                    DATED ________________________
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